                 Case 1:18-cv-00449-LEK-RT Document 1 Filed 11/19/18 Page 1 of 21                                                               PageID #: 1

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                                                                                                                                         FILED INTHE
                                                                                                                                 UNITED STATES DISTRICT COURT
                                                                                                                                      DISTRICT OF HAWAII

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                                                                                 lJNITr:D STATES DISTRICT COURT

                                                                                    f-OR TllE DfSTRICT OF IJA WAII

                                                                                                         C IVlLNO.cv        18 00449 LEK KSC
                                   ~\J,:Z.~vw\e_ 8 -~\A()\-.\- ~
                                                                                                 )       EMPLOYMENT DISCRIMfNATION
                                                                                                 )                COMPLAINT
                                                                           Plaintiff,            ~       No~c.e.. e>~'StA.1~   'f2.15lt\-\-s

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         \)OMIY'I i                c ~.er~\a..s ~ Defendant(s),
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          I/                                                       )
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                                  I.           Plaintiff resides al:

                                               Address:

                                               City, Slate & Zip Code                                           . .o_      f--i\lt....._.__C\_~_1_L\_l____
                                                                                          ~+_,,....\'-'-'Q.:=: ;\J_;;~=-C)-/
                                                Phone number:                      (   ~ Df:l2 -0C:,11
                                  2.            Defendant is located at:

                                                Address:

                                                C ity, Stale & Zip Code




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  L    The Parties to ~s Complaint

       A.·   The Plaintiff(s)

             Provide the information below for each plaintiff named in the complaint. Attach
             additional pages if needed.

                    Name
                    Street Address
                    City and County .
                    State and Zip Code
                    Telephone Number
                    E-mail Address            ::>nesdoo+±e \\\I e_, l.oVV\
       B.    The Defendant(s)

             Provide the information below for each defendant named in the complaint,
             whether the defendant is an individual, a government agency, an organization, or
             a corporation. For an individual defendant, include the person's job or title (if
             known) and check whether you are bringing this complaint against them in their
             individual capacity or official capacity, or both. Attach additional pages if
             needed.

             Defendant No. 1
                    Name
                    Job or Title
                    (if known)
                    Street Address
                    City and County           \\-o    V\   o \ v.. \ V\
                    State and Zip Code
                    Telephone Number
                    E-mail Address
                    {if known)
                       D   _Individual capacity                  ~        Official capacity

             Defendarit No. 2
                    Name
                    Job or Title



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                   (if known)
                   Street Address
                    City and County
                   ·State and Zip Code
                   Telephone Number
                   E-mail Address
                   {if known)
                   D     Individual capacity              ~      Official capacity

             Defendant No. 3
                   Name
                   Job or Title                     vW\ev                           \
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                   (if known)
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                    State and Zip Code
                    Telephone Number
                    E-mail Address
                    (if known)
                    D    Individual capacity                     Official capacity

             Defendant No. 4
                    Name
                    Job or Title
                    (if known)
                    Street Address
                    City and County
                    State and Zip Code
                     Telephone Number
                     E-mail Address
                    .(ifknown)
                    D     Individual capacity              D      Official capacity




                                                3
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     3.     This action is brought pul'suant to Title VII of the Civil Rights Act of 1964 for
     employment discrimination. Jurisdiction is conferred on this Com1by42 U.S.C. § 2000c-5.
     Equitable and other relief is sought under 42 U.S.C. § 2000c-5(g).         ·

     4.     This acts complained of in this suit concern:

            A.~                    Failure to employ me.

            B.        D            Termination of my employment

            c.        D            Failure to promote me.

            D.     _Kl_            Other acts as specified below:

              Qd-vlo.u- \t\ 1 ·J,.0\5                       T       was vu\t,o..\\~




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Case 1:18-cv-00449-LEK-RT Document 1 Filed 11/19/18 Page 5 of 21   PageID #: 5
Case 1:18-cv-00449-LEK-RT Document 1 Filed 11/19/18 Page 6 of 21                                            PageID #: 6




     5.         Defondant's conduct is discriminatory with respect to the following:

                A.         JKl_             My race or color.

                B.          D               My religion.

                C.          D               My sex.

                D.         _D_              My national origin.

              JKl_ Other acts as specified below:
                 E.

     Be.k-ttJ1 ~-r·, o(\
     6.          The basic facts surrounding my claim of discrimination are:

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                                                                       _.Q__.c_;\-:_. . . . _\_l\__~_Q_\_.5
     7.    The alleged discrimination occurred on or about _
                                                                                 (Date)    1            ____
     9.    I filed charges with the Federal Equal Employment Oppo1tunity Commission (or the
           State of Hawaii Department of Labor and Industrial Relations, Enforc ment Division
           regarding defendant's alleged discriminatory conduct on or about ......,..c.v...__-l-ir-e'-' J.-4-lllolC.


     10.   WHEREFORE, Plaintiff prays that the Court grant such relief as may be appropriate,
           including injunctive orders, damages, costs, and attorney fees.




                                                                Signature of Plaintiff



                                      Plaintiffs Name - printed, or typed.
                                      (Notarization is not required)




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           Case 1:18-cv-00449-LEK-RT Document 1 Filed 11/19/18 Page 10 of 21                                               PageID #: 10
LEOC Form 161 (11/16)                    U.S. EQUAL ~MPLOYMENT OPPORTUNITY COMMISSION

                                                 DISMISSAL AND NOTICE OF RIGHTS
To:    Suzanne Schott                                                                 From:     Honolulu Local Office
       4284 Maka Rd                                                                             300 Ala Moana Blvd
       Kalaheo, HI 96741                                                                        Room 4-257
                                                                                                Honolulu, HI 96850


       EJ                   On behall Ofperson(Sf8ggfie'1ed ~Mose ldentiij Js
                            CONFIDENTIAL (29 CFR §1601. 7(a))
EEOC Charge No.                               EEOC Representative                                                       Telephone No.

                                               Rogelio A Col6n,
486-2016-00134                                 Investigator                                                             (808) 541-3118
THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
       D         The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

       D         Your allegations did not involve a disability as defined by the Americans With Disabilities Act.

       D         The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

       D         Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                 discrimination to file your charge
       [KJ       The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
                 information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
                 the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.
       D         The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

       D         Other (briefly state)



                                                         - NOTICE OF SUIT RIGHTS -
                                                   (See the additional information attached to this form.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.




 Enclosures(s)                                                                                                                (Date Mailed)


 cc:
            Beth Schimmelfennig
            Civil Rights Complianc pecialist Ill
            SOH-DEPT OF EDUCATION
            Civil Rights Compliance Office
            1390 Miller St., Rm 416
            Honolulu, HI 96813
          Case 1:18-cv-00449-LEK-RT Document 1 Filed 11/19/18 Page 11 of 21                                                  PageID #: 11
    Enclos-: ire with EEOC
    Form 1ts1 (11116)
                                                    INFORMATION RELATED TO FILING SUIT
                                                  UNDER THE LAWS ENFORCED BY THE EEOC

                                     (This information relates to filing suit in Federal or State court under Federal law.
                             If you also plan to sue claiming violations of State law, please be aware that time limits and other
                                   provisions of State law may be shorter or more limited than those described below.)

    PRIVATE SUIT Rl 6 HTS                 -=   Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA),
                                                                                                                                        ~e------
------------i:nthe-GenetiG-lnformation-Nondiscr~minat-ion-Act--{GINA},-0r-the-Ag
                                               D1scr1mmation m Employment Act (ADEA):

    In order to pursue this matter further, you must file a lawsuit against the respondent{s) named in the charge within
    90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
    day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
    consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
    him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
    manner, it is prudent that your suit be filed within 90 days of the date this Notice was malled to you {as
    indicated where the Notice is signed) or the date of the postmark, if later.
    Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. {Usually, the appropriate
    State court is the general civil trial court.) Whether you file in Federal or· State court is a matter for you to decide
    after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
    statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
    your charge must be attached to the complaint you file in court. If so, you should remove your birth date from the
    charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
     any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
    alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
     some cases can be brought where relevant employment records are kept, where the employment would have
     been, or where the respondent has its main office. If you have simple questions, you usually can get answers from
     the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
     or make legal strategy decisions for you.

    PRIVATE SUIT RIGHTS                   --   Equal Pay Act (EPA):

    EPA suits must.be filed in court within 2 years {3 years for willful violations) of the alleged EPA underpayment: back
    pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
    example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
    before 7/1/10 - not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
    suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
    Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
    claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

     ATTORNEY REPRESENTATION -                         Title VII, the ADA or GINA:

     If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
     in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
     made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
     efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
     because such requests do not relieve you of the requirement to bring suit within 90 days.

     ATTORNEY REFERRAL AND EEOC ASSISTANCE                                -- ' All Statutes:

     You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
     questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
     inspect or obtain a copy of information in EEOC's file on ·the charge, please request it promptly in writing and provide .
     your charge number {as shown on your Notice).· While EEOC destroys charge files after a certain time, all charge files
     are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
     file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
     made within the next 90 days.)

                             IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
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 EECC Ferm S (11/09)

                       CHARGE OF DISCRIMINATION                                                           Charge Presented To:       Agency(fes) Charge No(s):
            This form Is Bffectad by Iha Prfvscy Act of 1974. See endosed Prtv8cy Act                        0FEPA
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                                                                          Slsl8 at local Agency. II sny
 Name (lmllcatB Mr., Ma. Mnr.J
 Ms. Suzanne Schott
 Street Addruss                                                                  CHy. Slate encl ZIP Cede
 4284 Maka Rd, Kalaheo1 fll96741

 Named Is   the
              Employer, Labar Organlzat!on, Employment Agency, Apprenllceshfp Commtttee. or State or Local Government Agency That I Setlave
 Dlscrfm!nated Agafnst Me or Others. (If mote than two, /Isl under PAR11CULARS balow.)
 Name
 SOH·DEPARTMENT OF EDUCATION
                                                                                               No.~Masm:rs                           I
                                                                                                                      Phone Ho. (lndudeAIDll
                                                                                                                   500 or More             (808) 337-7655
                                                                                                                                                             Code,
 Slreel Address                                                                  City, stale and ZlP Codo

 Kekaha Elementary School, 8140 Kekaha Rd., Kekaha, HI 96752

 Name                                                                                                             . . _ _ 1-11o.i-A1eeCadeJ
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 CISCRIMINATION BASED ON (Clfflclt sppmpdata box(eaJJ                                                                   DATE(S) DISCRIMINATION TOOK PLACE
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                                                                                                                              rn    CONTINUING ACTION

 THE PARTICULARS ARC (If eddiUonBI papar Is nseded. at/Bt:h emu shaet(s)}:.


  I was hired In January 1990. I am currently a Grade 4 Teacher at Kekaha Elementary School.

  On October 14, 2015, I was In a faculty meeting where we were being presented Information and
  discussing metacognltlve markers. When I asked where this data came from, I was not getting any
  clear answers from Prfnclpal Dominic Beralas (Flllplno) after mulOple Inquiries. As I continued to
  Inquire about this matter, Mr. Beralas did not answer and told me that the Catapult Team and
  Academic Coaches were responsible. I then asked the coaches the same question. Academic
  Coach Teresa Waalanl (Portuguese/Flllplno) then slammed her hands on the table and verbally
  assaulted me In front of the entire staff and repeatedly used the f-word towards me. Mr. Beralas did
  nothing to correct her or address this conduct.


 I want this charge mad with both Iha EEOC and the StatB orlccal Agency. lf any. I
 will advlse the agencies If I change my addruso or phone number and I will
 cooperate ftdly wl!h them In Iha proc:essfng of my charge rn accordance wfth their
,_P~roc:edur8s.:--:----=--~~--:--.~~-~----------1 I swear or aftbm that.I have read the above charge and that ft is true to
 l dedare under penalty of perjury that the above Is lrue and ccrrect.                       the best of my knowfedge, lnfonna!fon and belief.
                                                                                              S1GNATURE OF COMPlAINANT




                                                                                                                             EEOCHLO
Case 1:18-cv-00449-LEK-RT Document 1 Filed 11/19/18 Page 13 of 21                                                           PageID #: 13




 EEOC Fann& (111D9)

                      CHARGE OF DISCRIMINATION                                             Charge Presented To:      Agency(les) Charge No(s):
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                   St&lement mid Gtharfnfanna!fan befciu c:mnptet?ng lhfs fcrm.
                                                                                               [!I EEOC                 488-2016-00134
                                                         Hawai'I Clvll Right& Commission                                           and EEOC



   I went to the office to speak to Mr. Beralas, who motioned me to come over to his office. I refused
   and Informed him that I wanted to stay In the main office where It was safe. I then Informed him that
   what had transpired was unacceptable and that I would be flllng a grievance. He Indicated that a
   grievance should be filed against me for my Inappropriate behavior.· I infonned him that I had not
   acted Inappropriately or unprofessionally and that all I did wast~ ask a question about where the
   data came from.

   He proceeded to yell at me, berate me, and threaten In the front office In front of three other staff
   meml;Jers.                                                                                        ·

   On this same date, I e-mailed my Union Representative and went home.

   On October 16, 2015, I flied a police report with the Kauai Police Department for harassment against
   Ms. WaalanL                                             ·

  On October 19, 2015, I submitted a complaint to Complex Superintendent Wllllam Arakaki
  (Japanese/Portuguese) regarding Mr. Beralas and Ms. WaalanL On this same date, I received a
  certified letter from Mr. Beralas Indicating that I had a formal complaint against me and was being
  placed under Investigation for speaking "Inappropriately".

  On October 30, 2015, we had an Informal meeting with Mr. Beralas regarding my grievance. In the
  meeting, Mr. Beralas admitted that he neither said or did anything to stop the assault and Indicated
  that Ms. Waalanl was speaking for the entire staff. He also admitted that she used inappropriate
  language.

  I e-mailed Mr. Arakaki on November 2, 12. and 20, 2015 requesting the status of my complaints and
  asked when the certified letters had been sent out to Mr. Beralas and Ms. Waalanl and who the
  assigned investigator was. N~t one of the parties responded to my inquiry.

  On November 24, 2015, I received a response from Mr. Arakaki thanking me for my patience
  whereby he told me that he would address my complaints at the time of the grievance meeting the
  next day.
  On November 25, 2015; we had a Step 1 grievance meeting with Mr. Arakaki. Prior to the meeting,
  he asked us to come Inside to dl~cuss the complaints. Mr. Arakakal Indicated that Ms. Waalanl was
  sorry and that there was no "sense" In flllng a complalnt against her. He also added that because I
  flied a grievance against Mr. Beralas that It was. kind of the "same thlngn. I told Mr. Arakaki that It
  was the same thing and that he did not hesitate to file a complaint charge aaalnst me by Mr. Beralas
 I v.ent this charge fitad v.flh both the EEOC and the Stara or~ Agency, ff any. I
 wlD advise the agencfes If I change my addrasa ar phone number and I will
 cocperafa ruuy wHh them in the prucesslng army charge en aceonfance wtlh tldr
,_P~roc:edwus.~------------------1 I swear or affinn that I have read Iha abovechaJueand that ltf true lo
 I declare under penalty of pmjusy Chat the above Is Crue and correct. Iha best of my knowledge, lnfannatfon and ballef. !
                                                                                     SIGNATURE.OF COMPt.AINANT


                                                                                     SUBScRmED AND SWORN TO BEFORE ME THIS DATE
                                                                                     (manlh, day. 1B8"
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  EEOC Fcna 5 (11'09)

                        CHARGE OF DISCRIMINATION                                                Charge Presented To:            AgencyOes) Charge No(s):
              This ronn Is affected by Um Privacy Act of 1974. See endased Privacy Ad
                                                                                                     -       FEPA
                     Statement and other lnrmmB1lon be!ont compretfng lhts Corm.
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   In 2 days without any Investigation and that my complaints had been Ignored. I Informed him there
   was bias In his handling and he said he would go through with the complaints. Mr. Arakaki said the
   State does not have anyone to do the Investigation. Mr. Arakaki was Informed.that It was not safe
   for me to r~tum to wo~ and he was provided with safeguard proposals so that I could return to
   work. My HSTA Representative and I expressed our concerns about Mr. Beralas' complaints being
   retaliatory. We also shared that my physician and my HSTA Union Representative deemed my
   workplace unsafe and a hostile working environment. Mr. Arakaki agreed to draft safeguards and
   respond to me after the Thanksgiving break.

   On December 1, 2015, I e-mailed Mr. Arakaki a summary of the November 25, 201 S meeting and
   asked that my complalnts be processed and submitted my original October 19, 2015, complaint.
   Superintendent Kathryn Matayoshi and Deputy Superintendent Stephen Schatz were also cc'd
   regarding what had taken place at the meeting and provided with the same Information.

   On December 7, 2015, I requested a status on my complaint from Mr. Arakaki and received no
   response. I also requested him for a status on my Step 1 grievance. In this, I told him that I was
   forced to use my sick leave while I was out, and that based on his extensions, I should be placed on
   admlnlstraUve leave with pay. I did not receive a response.

   ·On December 28 and December 30, 2015 or so, I asked Mr. Arakaki for another update. I did get one
    response from him saying that he was Interviewing witnesses on January 5, 2016. He proposed
    some safeguards that came through my Union Representative. He did not address my complaints,
    and he also did not process eve~hlng by the January 5, 2016 deadDne.

   On January 11, 2016, I filed a formal complaint against Mr. Arakaki with Ms. Matayoshi and Mr.
   Schatz complaining of his bias and unfair treatment towards me. I wrote that he had treated my
   complaints with bias and that differential treatment he had given to Mr. Beralas' complaint over
   mine was with prejudice.

   On January 14, 2016, I requested that Ms. Matayoshi provide me with a status on my complaint and
   asked that she respond by January 15, 2016. No response was sent.

    On January 19, 2018, I requested another update from Mr. Arakaki on the status of the complaint
    and Included Department practices on Internal investigations. On this same day, I also a-malled Ms.
    Matayoshi (cc'd Mr. Schatz) and asked for a status of my complaint against Mr. Arakaki. I also
    Indicated that his non-delay was discriminatory; no response was received. I also Included the
    Department practices In internal Investigations.

  I want this charge med wllh both the EEOC and the State or focal Agency. If any. I    NOTARY- When neammy far SlettJ and Local Agsncy Requlmmentl
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   On January 20, 2016, I received an a-mall from Ms. Matayoshi Informing me that she had received
   my formal complaint. and that In regard to the status of my complaints against Mr. Beralas and Ms.
   Waalanl there vias an Investigation In process. Once It was completed, Mr. Arakaki would respond·
   tome.

   On January 26, 29, and February 4, 2018, I e-mailed Mr. Arakaki asking for the status of my
   complaints and my Step 1 Grievance decision. I received no response.

   I also e-mailed Ms. Matayoshi and Mr. Schatz to ask them both what actions have been taken to
   move my complaint fomard and asking for a pres.ent status.. I received no reply.

   To my knowledge, neither Mr. Beralas nor Ms. Waalanl were In receipt of my complaints and have
   been Investigated. I am being Investigated despite the fact that I did not participate In Inappropriate
   conduct.

   I believe that I have been discriminated against because of my race (Whl~) and In retaDaUon for
   enaaalng In a Drotected actlvltv, In vlolaUon of Title VII of the Civil Rights Act of 1964. as amended.




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             Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or Slate or Local Government Agency That I Believe
             Discriminated Against Me or Others. (If more than two , l ist under PAR TICULARS be/ow.)
             Name                                                                                          No. Employees, Mclrbonl Phone No. (Include Aroa Code)

             SOH-DEPARTMENT OF EDUCATION                                                                                             500 or More                     (808) 337-7655
             Street Address                                                                      City, State and ZIP Coda

             Kekaha Elementary School, 8140 Kekaha Rd., Kekaha, Hl96752

             Namo                                                                                                                   No. Employaoo, Morrbora       Phone No. (lncludo Aroa Coda)



             Street Address                                                                      City, State and ZIP Coda




             DISCRIMINATION BASED ON {Check appropriate box(es).)                                                                              DATE(S) DISCRIMINATION TOOK Pl.ACE
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             THE PARTICULARS ARE (Ifadditional paper Is neoded, atlach oxtro shoot(s)):

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               I was hired in January 199!). I am currently a Grade 4 Teacher at Kekaha Elementary School.

               On October 14, 2015, I was in a faculty meeting where we were being presented infonnation and
               discussin·g metacognitive markers. When I asked where this data came from, I w as not getting any
               clear answers from Principal Dominic Beralas (Filipino) after multiple inquiries. As I continued to
               inquire about this matter, Mr. Beralas did not answer and told me that the Catapult Team and
               Academic Coaches were responsible. I then asked the coaches the same question. Academic
               Coach Teresa Waalani (Portuguese/Filipino) then slammed her hands on the table and verbally
               assaulted me in front of the entire staff and repeatedly used the f-word towards me. Mr. Beralas did
               nothing to correct her or address this conduct.
                I want this charge filed with both the EEOC end the State or local Agency, If any. I NOTARY -Wilen nocossary for State and LoC81 Agoncy Raqulromonts
                will advise the agencies If I change my address or phone number and I will
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                I dedare under· penalty of perjury that the above fs true and correct.               the best of my knowledge, infonnation and belief.
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                                                                       State or local Agency, If any           ..




   I went to the office to speak to Mr. Beralas, who motioned me to come over to his office. I refused
   and Informed .him that I wanted to stay In the main office where It was safe. I then lnfOnned him that
   what had transpired was unacceptable and that I would be filing a grievance. He indicated that a
   grievance should be filed against me for my Inappropriate behavior. I Informed him that I had not
   acted Inappropriately or unprofessionally and that all I did was to ·ask a· question about where the
   data came from.

   He proceeded to yell at me, berate me, and threaten In the front office in front of three other staff
   members.

   On this same date, I e-mailed my Union Representative and went home.

   On October 16, 2015, I filed a police report with the Kauai Police Department for harassment against
   Ms. WaalanL

   On October 19, 2015, I submitted a complaint to Complex Sup~rintendent William Arakaki
   (Japanese/Portuguese) regarding Mr. Beralas and Ms. Waalanl. On this same date, I received a
   certified letter from Mr. Beralas Indicating that I had a fonnal complaint against me and was being
   placed under Investigation for speaklng.''lnapproprlately".

   On October 30, 201S. we had an Informal meeting with Mr. Beralas regarding my grievance. In the
   meeting, Mr. Beralas admitted that he neither said or did anything to stop the assault and Indicated
   that Ms. Waalanl was speaking for the entire staff. He also admitted that she used Inappropriate
   language.

   I e-mailed Mr. Arakaki on November 2, 12, and 20, 2015 requesting the status of my complaints and
   asked when the certified letters had been sent out to Mr. Beralas and Ms. Waalanl and who the
   assigned Investigator was. Not one of the parties responded to my Inquiry.

   On November 24, 2015, I received a response from Mr. Arakaki thanking me for my patience
   whereby he told me that he would address my complaints at the time of the grievance meeting the
   next day.

   On November 25, 2015, vie had a Step 1 grievance meeting with Mr. Arakaki. Prior to the meeting,
   he asked us to come Inside to discuss the complaints. Mr. Arakakai Indicated that Ms. Waalanl was
   sorry and that there was no "sense" In filing a complaint against her. He also added that because I
  I want this charge 1lled with both the EEOC end lhe State or local Agency, If any. I NOTARY- When.nec:essary for stato and Local Agency Requltemenls
  will advise the agencies ff I change my address or phone number end I wfll
  cooperate fully with them In the processing of my charge In acconfance with their
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 was the same thing and that he did not hesitate ~o file a complaint charge against me by Mr. Beralas

 in 2 days without any investigation and that my complaints had been ignored. I Informed him there
 was bias in his handDng and he said he would go through wHh the complaints. Mr. Arakaki said the
 State does not have anyone to do the Investigation. Mr. Arakaki was informed that it was not safe
 for me to return to work, and he was provided with safeguard proposals so that I could retum to
 work. My HSTA Representative and I expressed our concerns about Mr. Beralas' complaints being
 retaliatory. We also shared that my physician and my HSTA Union Representative deemed my
 workplace unsafe and a hostile working environment. Mr. Arakaki agreed to· draft safeguards and
 respond to me after the Thanksgiving break.                     ·

 On December 1, 2015, I e-mailed Mr. Arakaki a summary of the November 25, 2015 meeting and
 asked that my complaints be processed and submitted my original OCtober 19, 2015, complaint.
 Superintendent Kathryn Matayoshi and Deputy Superintendent Stephen Scha1z were also cc'd
 regarding what had taken place at the meeting and provided with the sam_e information.

 On December 7, 2015, I requested a status on my complaint from Mr. Arakaki and received no
 response. I also requested him for a status on my Step 1 grievance. In this, I told him that I was
 forced to use my sick leave while I was out, and that based on his extensions, I should be placed on
 administrative leave with pay. I did not receive a response.

 On December 28 and December 30, 2Q15 or so, I asked Mr. Arakaki for another update. I did get one
 response from him saying that he was' interviewing witnesses on January 5, 2016. He proposed
 some safeguards that came through my Union Representative. He did not address my complaints,
 and he also did not process everything by the January 5, 2016 deadline.

  On January 11, 2016, I filed a formal complaint against Mr. Arakaki with Ms. Matayoshi and Mr.
  Schatz complaining of his bias and unfair treatment towards me. I wrote that he had treated my
  complaints with bias and that differential treatment he had given to Mr. Beralas' complaint over
  mine was with prejudice.

  On January 14, 2016, I requested that Ms. Matayoshi provide me with a status on my complaint and
  asked that she respond by January 15, 2016. No response was sent.

  On January 19, 2016, I requested another update from Mr. Arakaki on the status of the complaint
  and included Department practices on Internal Investigations. On this same day, I also e-mailed Ms.
  Mata oshl cc'd Mr. Schatz and asked for a status of m com laint a Inst Mr. Arakaki. I also
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I declare under penalty of perjury that the above is true and correct.                        the best of my knowledge, infonnation and belfef.
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  indicated that his non-dela y was discrimin atory; no response was received. I also included
  Deparbn ent practices in internal investiga tions.

  On January 20, 20161 I received an e-mail from Ms. Matayo~hl lnfonning me that she had received
  my formal complain t, and that in regard to the status of my complain ts against Mr. Beralas and
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  Waalani there was an investiga tion in process.  Once  it was complete d, Mr. Arakaki would respond
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  On January 26, 29, and February 4, 2016, I e-maHed Mr. Arakaki asking for the status of my
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  I also e-mailed Ms. Matayoshi and Mr. Schatz to ask them both what actions have been taken
  move my complain t forward and asking for a present status. I received no reply.
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  To my knowledg e, neither Mr. Beralas nor Ms. Waalani were In receipt of my complain ts and
                                                                     I did not participa te in Inapprop riate
  been investiga ted. I am being Investiga ted despite the fact that
  conduct.
                                                                                                       a call
   On February 24, 2016, I submitte d an applicatio n for transfer. On February 26, 2016, I received
   informing me that I had submitte d an external appllcatlo  n by mistake, and that I needed to fill out an
   Internal appll~tlon for each of the positions .

   On February 29, 2016, I submitte d app.lcatio ns for 5 postings (3 at Koloa Elementary, 1 at Wilcox
   Elementa ry, and 1 at Eleele Elementary). I was contacted by phone by the Principal s at Koloa
                                                                                                    and
   Wilcox to set up Interview s. However, the  Eleele Principal contacted  me  at my seconda ry e-mail,
   and as I did not respond right away he assumed I was not Interested.
                                                                                                     the
   In mid-Marc h 2016 I Interview ed for the 4 positions at Wiicox and Koloa; I was not selected for
   position( s).

   In a letter dated March 18, 2016, Ms. Matayoshi conclude d that an Investiga tion into Mr. Arakakl's
                                                                                                       that
   actions regarding my complain ts against Mr. Berales and Ms. Waalani were not warranted, and
                                                                   towards me.    The  letter further stated
   ha handled the matter In the nonnal course without any "bias"
   that my complain ts against Mr. Berales and Ms. Waalanl were being investiga ted by Mr. Arakaki,
   and that he would contact me at the appropria te time.



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   1 at Wilcox, and 1 at . ··' t¥t~ I was interviewed for the Wilcox and Koloa positions in late April 2016.
   On April 30, 2016, I interviewed for the Eleele position. Eleele Principal Zina prefaced the interview
   by indicating that I had applied for 2 different 5th grade positions, and that while the questions and
   responses I would be providing would be taken into consideration, his primary basis on choosing a
   candidate would be "finding the right fit with personalities as he needed to make sure the existing
   5°' grade teacher would work with the two open po~itions."


   In early May 2016, I received notification that I had not been selected for the Wilcox and Koloa
   positions. On May 9, 2016, Principal Zina infonned me that I was not selected for the Eleele
   positions.

   I am more than qualified for these positions and I believe that Respondent has engaged in further
   retaliation by not hiring me for these positions.

   I believe that I have been dis~riminated against because of my race (White) and in retaliation for
   enga In In a rotected ac .. .. , in violation of Title Val of the Civil RI hts Act of 1964, as amended.



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 I declare under penalty of perjury that the above is true and correct. .                    the best of my knowledge, tnfonnatfon and belief.
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